          Case 2:23-mj-00110-BNW Document 23 Filed 05/31/24 Page 1 of 3




 I   JASON M. FRIERSON
     United States Attorney
 2   District of Nevada
     Nevada Bar Number 7109
 J
     R. THOMAS COLONNA
 4   Assistant United States Affomey
     501 Las Vegas Bld. South, Suite 1100
 5   Las Vegas, Nevada 89101
     Phone: (702)388-6336
 6   Email : Richard. colonna@usdoj. gov

 7   Attorneysfor the United States of America

 8
                                 UNITED STATES DISTRICT COURT
 9
                                       DISTRICT OF NEYADA
10

11   TINITED STATES OF AMERICA,                       Case No. 2:23-my001 10-BNW

t2                  P1aintiff,                        MOTION TO DISMISS CITATION
l3          v.

t4   DAHLAS COLEMAN,
15                  Defendant.

t6
t7          On July 3,2022, Dahlas Coleman ("Plaintiff') was arrested for operating a motor
l8   vehicle underthe influence of alcoholand/or drugs under43 C.F.R. $423.40(a) and
19   N.R.S. $ 484C.110(a) and for having an open container in his vehicle in violation of 43
20   C.F.R. 423.43 and N.R.S. 4848.150.1. On February 21,2024, the parties entered into a
2t   pretrial diversion agteement: Coleman ageed to pay a fine of $500 dollars or complete 50
22   hours of community service, compete DUI school with a victim impact panel, complete
Z)   an 8-hour online alcohol awareness class, not enter the Lake Mead National Recreational
24   Area for a period of 6 months, and not have any adverse contact with law enforcement
25   during the diversionary period.
26
            Case 2:23-mj-00110-BNW Document 23 Filed 05/31/24 Page 2 of 3




 I            On May 6,2024, Assistant Federal Public Defender Matthews reached out to the

 2   office and showed proof of (1) proof of payment of the $500 fine; (2) a certrfrcate of

 J   completion of the victim impact course; (3) certification of completion for the DUI

 4   course; and (4) certificate of completion for drug and alcohol awareness course. Based on

 5   the information known to the govemment, Coleman has complied with his conditions in

 6   a timely and diligent manner.

 7            Based on Coleman's payment of the fine, completion of the DUI, alcohol

 8   awareness, and victim impact courses, avoidance of negative contact with law

 9   enforcement since the date of his arrest, nearly 23 months ago, his prompt fulfi.lment of

l0   the terms of the agreement, and his lack of a criminal history, the government moves to

lt   dismiss the citation ahead of the August 15,2024, status date to the Court.

t2            DATED this 29th day of May,2024.
13

t4    RENE L. VALLADARES                            JASON M. FRIERSON
      Federal Public Defender                       United States Attorney
t5

t6          /s/ KeishaK. Matthews                          /s/ R. Thomas Colonna
      Rrr                                           El.,
17
      KEISHA K. MATTHEWS                            R. THOMAS COLONNA
     Assistant Federal Public Defender              Assistant United States Attorney
l8
t9
20

2t
22

23

24

25

26
                                                   2
           Case 2:23-mj-00110-BNW Document 23 Filed 05/31/24 Page 3 of 3




 1   JASON M. FRIERSON
     United States Attorney
 2   District of Nevada
     Nevada Bar Number 7709
 3
     R. THOMAS COLONNA
 4   Assistant United States Attorney
     501 Las Vegas Bid. South, Suite 1100
 5   Las Vegas, Nevada 89101
     Phone: (702) 388-6336
 6   Email: Richard.colonna@usdoj.gov
 7   Attorneysfor the United States ofAmerica

 8
                                 UNITED STATES DISTRICT COURT
 9
                                     DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                       Case No. 2:23-mj-00110-BNW
12                  Plaintiff,                       ORDER OF DISMISSAL
13          V.

14   DAHLAS COLEMAN,
15                  Defendant.
16
17          The Court finds that the Defendant has complied with the terms of the pretrial
18   diversion agreement and HEREBY ORDERS that the citation is dismissed.
19          DATED:          May 31, 2024
20
21
22
23                                                    U.S. MAGISTRATE WDGE
24
25
26
